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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                    CRIMINAL 16-0611-04CCC
vs
4) LINDA RIVERA-ORTIZ (Counts 1,
9-11, 19)
Defendant


                                    ORDER

     Having considered the Report and Recommendation filed on March 29,
2017 (d.e. 114) on a Rule 11 proceeding of defendant [4] Linda Rivera-Ortiz
before U.S. Magistrate-Judge Silvia Carreño-Coll on March 28, 2017, to which
no objection has been filed, the same is APPROVED. Accordingly, the plea
of guilty of defendant is accepted.     The Court FINDS that her plea was
voluntary and intelligently entered with awareness of her rights and the
consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since March 28, 2017. The sentencing
hearing is set for JUNE 28, 2017 at 4:40 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g).         The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 19, 2017.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
